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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

UNITED STATES OF AMERICA,

             Plaintiff,

v.                                                   Case No. 05-80955

D-22, TONESA WELCH,                                  Hon: AVERN COHN

           Defendant.
___________________________________/


            ORDER DENYING MOTION FOR ALTERNATIVE SENTENCE

      Defendant has filed a motion styled:

             Motion Requesting Court Recommendation For Alternative
             Sentence

      On June 20, 2008, defendant was sentenced to a custody term of 57 months.

      As explained in the

             Government’s Response To Defendant’s Motion Requesting
             Court Recommendation For Alternative Sentencing

the Court has no authority to change the sentence. Whether and when defendant is placed

in a Community Corrections Center is a matter for the Bureau of Prisons to decide.

      The motion is DENIED.

      SO ORDERED.


Dated: April 10, 2009                    s/Avern Cohn
                                        AVERN COHN
                                        UNITED STATES DISTRICT JUDGE
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                                                          05-80955-22 USA v. Welch
                                           Order Denying Motion for Alternate Sentence


                              CERTIFICATE OF SERVICE

I hereby certify that a copy of the foregoing document was mailed to Tonesa Welch, #
32373-112, FCI Victorville Medium II, Federal Correctional Institution, P.O. Box 5700,
Adelanto, CA 92301 and the attorneys of record on this date, April 10, 2009, by electronic
and/or ordinary mail.


                                          s/Julie Owens
                                         Case Manager, (313) 234-5160




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